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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
      Plaintiff,                                          Criminal Case No. 21-cr-00195

 vs.

 DEBORAH SANDOVAL                                       DEFENDANT SALVADOR
 SALVADOR SANDOVAL, JR.,                             SANDOVAL’S MOTION IN LIMINE
      Defendants.


       COMES NOW, Defendant Salvador Sandoval, Jr., by and through counsel, and for his

Motion in Limine states to the Court as follows:

       1. Trial in this matter is scheduled for December 14, 2022.
       2. Federal Rule of Evidence 401 states the following
           Evidence is relevant if:
           (a) it has any tendency to make a fact more or less probable than it would be without
           the evidence; and
           (b) the fact is of consequence in determining the action.
           However, Federal Rule of Evidence 403 states:

           “The court may exclude relevant evidence if its probative value is substantially
           outweighed by a danger of one or more of the following: unfair prejudice, confusing
           the issues, misleading the jury, undue delay, wasting time, or needlessly presenting
           cumulative evidence.”

       3. Federal Rule of Evidence 404(b) states the following:

           (b) Other Crimes, Wrongs, or Acts.
           (1) Prohibited Uses. Evidence of any other crime, wrong, or act is not admissible to
           prove a person’s character in order to show that on a particular occasion the person
           acted in accordance with the character.
           (2) Permitted Uses. This evidence may be admissible for another purpose, such as
           proving motive, opportunity, intent, preparation, plan, knowledge, identity, absence
           of mistake, or lack of accident.
           (3) Notice in a Criminal Case. In a criminal case, the prosecutor must:
           (A) provide reasonable notice of any such evidence that the prosecutor intends to
           offer at trial, so that the defendant has a fair opportunity to meet it;
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   (B) articulate in the notice the permitted purpose for which the prosecutor intends to
   offer the evidence and the reasoning that supports the purpose; and
   (C) do so in writing before trial–or in any form during trial if the court, for good
   cause, excuses lack of pretrial notice.
4. Defendant Salvador Sandoval requests the following anticipated evidence from the

   Government be excluded under both the Federal Rules of Evidence 403 and 404(b):


   a. Any and all video footage, including footage away from the Capitol, which does

   not include the Defendant Salvador Sandoval. Such evidence is irrelevant to any

   charges against the Defendant, and any probative value is substantially outweighed by

   a danger of unfair prejudice, confusion of the issues, and would mislead the jury;


   b. Any evidence mentioning the Oath Keepers, Proud Boys, or other groups which

   the Defendant Salvador Sandoval is not a member. Such evidence is irrelevant to any

   charges against the Defendant, and any probative value is substantially outweighed by

   a danger of unfair prejudice, confusion of the issues, and would mislead the jury;


5. Further, Defendant Salvador Sandoval believes such evidence is testimonial in nature

   and constitutes hearsay under Federal Rule of Evidence 801, and is without

   exception.


6. Federal Rule of Evidence 704 - Testimony of Ultimate Issue states:


   (a) In General — Not Automatically Objectionable. An opinion is not
   objectionable just because it embraces an ultimate issue.

   (b) Exception. In a criminal case, an expert witness must not state an opinion about
   whether the defendant did or did not have a mental state or condition that constitutes
   an element of the crime charged or of a defense. Those matters are for the trier of fact
   alone.
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           As such, the Defendant objects to any testimony by a Government witness indicating

           an opinion as to Defendant Salvador Sandoval’s intent or mental state based on any

           particular action or statement.


           WHEREFORE, Salvador Sandoval, Jr. requests this Honorable Court grant his

           Motion in Limine.


RESPECTFULLY SUBMITTED:                              KUTMUS, PENNINGTON & HOOK, PC

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                                                     SALVADOR SANDOVAL, JR.


                                CERTIFICATE OF SERVICE

       I hereby declare that on July 19, 2022, I electronically filed the foregoing with the Clerk
of Court using the ECF system which will send notification of such filing to the following:

Mr. Louis Manzo
Department of Justice
1400 New York Avenue NW
Washington, DC 20002

                                                     /s/ Julie Roberts
